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                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS
                                  EASTERN DIVISION


 In re:
                                                     Chapter 11
 ERIC N. REYBURN                                     Case No. 09-20683-FJB
                          Debtor


              DEBTOR’S MOTION FOR CONTEMPT AND SANCTIONS
                  AGAINST BAYVIEW LOAN SERVICING, LLC

          Eric N. Reyburn (the “Debtor”), through his counsel Michael Van Dam

 (“Counsel”) files this Motion for Contempt and Sanctions against Bayview Loan

 Servicing, LLC for its failure to comply with the order confirming the Debtor’s Chapter

 11 Plan. In support of the relief requested in the Motion, the Debtor respectfully

 represents as follows:

                                   FACTUAL ALLEGATIONS

     1. The Debtor filed this case on November 4, 2009 (the "Filing Date").

     2. The First Amended Chapter 11 Plan was confirmed on June 20, 2011 (See

          "Order" at Docket 720).

     3. As of this filing, Bayview Loan Servicing (“Bayview”) purports to hold and or

          service the loans/mortgages on the Debtor’s property located at 94 Alpine Street,

          Cambridge, Massachusetts

     4. Bayview, and, if applicable, its predecessor America's Servicing Company

          continue to compute the loan under the pre-confirmation contractual terms. There

          is no doubt that the Bayview is in contempt of the Order.
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    5. The Debtor's First Amended Chapter 11 Plan, as the Class 22, calls for a

       $535,000 principal fixed at a rate of 3.5% per annum over 20 years. See

       Statement attached hereto denoting an interest rate of 5%.

                    RELIEF REQUESTED AND BASIS THEREFOR

    6. Bayview's failure to abide by the Order has caused the Debtor significant

       problems. The Debtor has attempted to resolve this without Court intervention.

       The Debtor has from the outset of confirmation attempted to pay the note,

       however, Bayview will currently not accept payment.

    7. By this Motion, the Debtor requests that this Court enter an Order pursuant to

       section 105(a) of the Bankruptcy Code and rule 9020 of the Federal Rules of

       Bankruptcy Procedure: (1) holding that Bayview is in civil contempt for having

       failed to abide by the Order; (2) allowing Bayview to cure the contempt by

       immediately updating its records to reflect the parameters outlined in the Plan; (3)

       reimbursement of the Debtor’s legal fees and costs; and (4) reimbursement of

       filing fees along with fees due to the United States Trustee incurred while the case

       remains open (5) reimburse the Debtor for his time and expense; and (6) any other

       relief, including punitive damages, this Honorable Court deems just and proper.




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    WHEREFORE, the Debtor requests relief as requested herein.

   Eric Reyburn
   By his attorney,


   /s/ Michael Van Dam
   Michael Van Dam, Esq. BBO# 653979
   Van Dam Law LLP
   233 Needham Street
   Newton, MA 02464
   Tel: 617-969-2900
   mvandam@vandamlawllop.com


   Dated: February 2, 2017




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                       UNITED STATES BANKRUPTCY COURT
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 In re:                                             Chapter 11
 ERIC N. REYBURN                                    Case No. 09-20683-FJB
                       Debtor



                                CERTIFICATE OF SERVICE

 I, Michael Van Dam, hereby certifies that the attached Motion has been served postage

 prepaid upon the following parties this 1st day of February, 2017:

 Bayview Loan Servicing, LLC
 PO Box 650091
 Dallas, TX 75265-0091

 Harmon Law Offices PC
 150 California Street
 Newton, MA 02459


                                                             Respectfully submitted,
                                                             Debtor, by his Attorneys,


                                                             /s/ Michael Van Dam
                                                             Michael Van Dam, Esq.
                                                             (BBO # 653979)
                                                             Van Dam Law LLP
                                                             233 Needham Street
                                                             Needham, MA 02464
                                                             Tel: 617-969-2900
                                                             Fax: 617-964-4631




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